                          Case 8:17-bk-09357-MGW                Doc 114        Filed 08/15/18        Page 1 of 1
                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA


                                              PRO MEMO

                                                                     08/15/2018 11:00 AM
                                                                      COURTROOM 8A
HONORABLE MICHAEL WILLIAMSON
CASE NUMBER:                                                         FILING DATE:
8:17-bk-09357-MGW                             7                         11/02/2017
Chapter 7
DEBTOR:                  Zdravko Talanga
                         Darina Talanga
DEBTOR ATTY:             Herbert Donica
TRUSTEE:                 Carolyn Chaney
HEARING:
*Preliminary Hearing on Emergency Amended Motion for Relief from Stay (Verify Payment of Filing Fee on Previous Motion). Re:
                         353 Colonial Drive. Filed by Adam S Levine on behalf of Anna Dunedin Realty, LLC, Cygram Heritage,
                         LLLP (related document(s)[111]). (Attachments: # [1] Exhibit Certification of Necessity # [2] Exhibit # [3]
                         Exhibit # [4] Exhibit # [5] Exhibit # [6] Exhibit # [7] Exhibit # [8] Exhibit # [9] Exhibit # [10] Exhibit # [11]
                         Exhibit # [12] Exhibit # [13] Exhibit # [14] Exhibit # [15] Exhibit # [16] Affidavit # [17] Exhibit # [18] Exhibit #
                         [19] Exhibit # [20] Exhibit # [21]
Exhibit # [22] Exhibit # [23] Exhibit # [24] Exhibit) (Levine, Adam) Doc #112
[NOTE: FILING FEE OF $181 FOR M/R/S NOT PAID]

APPEARANCES::          Adam Levine for Anna Dunedin Realty, Herb Donica for Debtors, Allan Watkins for Trustee



RULING:
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[16] Affidavit # [17] Exhibit # [18] Exhibit # [19] Exhibit # [20] Exhibit # [21]
Exhibit # [22] Exhibit # [23] Exhibit # [24] Exhibit) (Levine, Adam) Doc #112
[NOTE: FILING FEE OF $181 FOR M/R/S NOT PAID]: Granted; Order by Levine
Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Orders
not submitted by the time of closing will result in motions/objections/applications being denied as moot. This docket
entry/document is not an official order of the Court.




                                     Case Number 8:17-bk-09357-MGW                            Chapter 7
